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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


SECURITIES AND EXCHANGE                     )
COMMISSION,                                 )
                                            )
      Plaintiff,                            )
                                            )             CIVIL ACTION NO.
VS.                                         )
                                            )             3:20-CV-0822-G
JEFFREY D. CORDES, ET AL.                   )
                                            )
      Defendants.                           )


       FINAL JUDGMENT AS TO DEFENDANT JEFFREY D. CORDES

      The Securities and Exchange Commission having filed a Complaint and

Defendant Jeffery D. Cordes (“Defendant”) having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Final Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph XIII); waived findings of fact and conclusions of law;

and waived any right to appeal from this Final Judgment:

                                           I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. §

78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using
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any means or instrumentality of interstate commerce, or of the mails, or of any

facility of any national securities exchange, in connection with the purchase or sale of

any security:

      (a)       to employ any device, scheme, or artifice to defraud;

      (b)       to make any untrue statement of a material fact or to omit to state a
                material fact necessary in order to make the statements made, in the
                light of the circumstances under which they were made, not misleading;
                or

      (c)       to engage in any act, practice, or course of business which operates or
                would operate as a fraud or deceit upon any person.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                             II.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 17(a)

of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer

or sale of any security by the use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly:



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      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a
             material fact or any omission of a material fact necessary in order
             to make the statements made, in light of the circumstances under
             which they were made, not misleading; or

      (c)    to engage in any transaction, practice, or course of business which
             operates or would operate as a fraud or deceit upon the purchaser.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                          III.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section

13(b)(5) of the Exchange Act [15 U.S.C. § 78m(b)(5)] and Rule 13b2-1

promulgated thereunder [17 C.F.R. § 240.13b2-1] by:

      (a)    knowingly circumventing or knowingly failing to implement a system of
             internal accounting controls or knowingly falsifying any book, record, or
             account described in Section 13(b)(2) of the Exchange Act; or

      (b)    falsifying or causing to be falsified, directly or indirectly, any book,
             record or account subject to Section 13(b)(2)(A) of the Exchange Act.




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      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                           IV.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Rule 13a-14

promulgated under the Exchange Act [17 C.F.R. § 240.13a-14] by filing or causing

to be filed any annual or quarterly report on behalf of any issuer required to be filed

with the Commission pursuant to Section 13(a) of the Exchange Act and the rules

and regulations promulgated thereunder, which contains a certification required by

Rule 13a-14 [17 C.F.R. § 240.13a-14] that includes an untrue statements of material

fact, or fails to include, in addition to the information required to be stated in such

certification, such further material information as may be necessary to make the

required statements, in light of the circumstances under which they were made, not

misleading, or fails to disclose any information required to be disclosed therein.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also



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binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                           V.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Rule

13b2-2(a) [17 C.F.R. § 240.13b2-2(a)] promulgated under the Exchange Act by, as

an officer or director of an issuer, (a) making or causing to be made a materially false

or misleading statement or (b) omitting to state, or causing another person to omit

to state, any material fact necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading, to an accountant in

connection with: (i) any audit, review, or examination of the financial statements of

an issuer required to be made pursuant to Section 13 of the Exchange Act; or (ii) the

preparation or filing of any document or report required to be filed with the

Commission.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraphs also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and



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attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                           VI.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Rule

13b2-2(b) [17 C.F.R. § 240.13b2-2(b)] by, as an officer or director of an issuer or

under the direction thereof, taking any action to coerce, manipulate, mislead, or

fraudulently influence any independent public or certified public accountant engaged

in the performance of an audit or review of the financial statements of an issuer that

are required to be filed with the Commission if Defendant knew or should have

known that such action, if successful, could result in rendering the issuer’s financial

statements materially misleading.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraphs also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).




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                                           VII.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from aiding and abetting any

violation of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules

12b-20, 13a-1, 13a-11 and 13a-13 promulgated thereunder [17 C.F.R. §§

240.12b-20, 240.13a.1, 240.13a.11, and 240.13a-13] by knowingly or recklessly

providing substantial assistance to an issuer that has a class of securities registered

pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78] or section 15(d) of the

Exchange Act [15 U.S.C. § 78o(d)] that violates, directly or indirectly, Section 13(a)

of the Exchange Act 15 U.S.C. § 78m(a)] and Rules 12b-20, 13a-1, 13a-11 and

13a-13 promulgated thereunder [17 C.F.R. §§ 240.12b-20, 240.13a.1, 240.13a.11,

and 240.13a-13], by failing to file annual, current, or quarterly reports in conformity

with the instructions on Form 10-K, Form 8-K, and Form 10-Q, respectively, by

failing to file such reports in conformity with the Commission’s integrated reporting

and disclosure regulations, Regulation S-K and S-X [17 C.F.R. §§ 229.10 et seq. and

210.1-01 et seq.], or by failing to include such further material information as may be

necessary to make the required statements in such reports, in light of the

circumstances under which they were made, not misleading.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also



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binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                          VIII.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from aiding and abetting any

violation of Sections 13(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C. §§

78m(b)(2)(A) and 78(b)(2)(B)] by knowingly or recklessly providing substantial

assistance to an issuer that:

       (a)    Fails to make or keep books, records, or accounts which, in reasonable
              detail, accurately and fairly reflect the transactions and dispositions of
              the issuer’s assets; or

       (b)    Fails to devise and maintain a system of internal accounting controls
              sufficient to provide reasonable assurances that (i) transactions are
              executed in accordance with management’s general or specific
              authorizations; (ii) transactions are recorded as necessary (A) to permit
              preparation of financial statements in conformity with generally
              accepted accounting principles or any other criteria applicable to such
              statements, and (B) to maintain accountability for assets; (iii) access to
              assets is permitted only in accordance with management’s general or
              specific authorization; and (iv) the recorded accountability for assets is
              compared with the existing assets at reasonable intervals and
              appropriate action is taken with respect to any differences.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also



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binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                           IX.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and

Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)]], Defendant is prohibited,

following the date of entry of this Final Judgment, from acting as an officer or

director of any issuer that has a class of securities registered pursuant to Section 12

of the Exchange Act [15 U.S.C. § 78l] or that is required to file reports pursuant to

Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)].

                                           X.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant shall pay a civil penalty in the amount of $173,437 to the Securities and

Exchange Commission pursuant to Section 20(d) of the Securities Act and Section

21(d)(3) of the Exchange Act. Defendant shall make this payment pursuant to the

terms of the payment schedule set forth in paragraph XI below after entry of this

Final Judgment.




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      Defendant may transmit payment electronically to the Commission, which will

provide detailed ACH transfer/Fedwire instructions upon request. Payment may

also be made directly from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified

check, bank cashier’s check, or United States postal money order payable to the

Securities and Exchange Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; Cordes as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of payment

and case identifying information to the Commission’s counsel in this action. By

making this payment, Defendant relinquishes all legal and equitable right, title, and

interest in such funds and no part of the funds shall be returned to Defendant. The

Commission shall send the funds paid pursuant to this Final Judgment to the United

States Treasury. Defendant shall pay post-judgment interest on any delinquent

amounts pursuant to 28 USC § 1961.




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                                          XI.

      Cordes shall pay the total penalty due of $173,437.00 in five installments to

the Commission according to the following schedule: (1) $20,000.00 within 30 days

of the entry of this Final Judgment; (2) $25,000.00 within 90 days of entry of this

Final Judgment; (3) $30,000.00 within 180 days of entry of this Final Judgment; (4)

$40,000.00 within 270 days of entry of this Final Judgment; and (5) $58,437.00

within 364 days of entry of this Final Judgment. Payments shall be deemed made on

the date they are received by the Commission and shall be applied first to post

judgment interest, which accrues pursuant to 28 U.S.C. § 1961 on any unpaid

amounts due after 30 days of the entry of Final Judgment. Prior to making the final

payment set forth herein, Cordes shall contact the staff of the Commission for the

amount due for the final payment.

      If Cordes fails to make any payment by the date agreed and/or in the amount

agreed according to the schedule set forth above, all outstanding payments under this

Final Judgment, including post-judgment interest, minus any payments made, shall

become due and payable immediately at the discretion of the staff of the

Commission without further application to the Court.

                                         XII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth



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herein, and that Defendant shall comply with all of the undertakings and agreements

set forth therein.

                                          XIII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely

for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy

Code, 11 U.S.C. §523, the allegations in the complaint are true and admitted by

Defendant, and further, any debt for disgorgement, prejudgment interest, civil

penalty or other amounts due by Defendant under this Final Judgment or any other

judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such laws, as set forth

in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                          XIV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Final Judgment.

                                          XV.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ORDERED to enter this Final Judgment

forthwith and without further notice.



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April 9, 2020.

                                  ________________________________
                                  A. JOE FISH
                                  Senior United States District Judge




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